Case 1:20-cv-00232-JTN-PJG ECF No. 16, PageID.242 Filed 04/21/20 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

OWEN W. BARNABY,

      Plaintiff,
                                             No. 1:20-cv-232
v
                                             HON. JANET T. NEFF
THE HONORABLE MABEL J. MAYFIELD,
C.J, THE HONORABLE DENNIS M. WILEY,          MAG. PHILLIP J. GREEN
THE HONORABLE ALFRED M.
BUTZBAUGH, THE HONORABLE JOHN E.                BRIEF IN SUPPORT OF
DEWANE, THE HONORABLE JOHN M.                   MICHIGAN COURT OF
DONAHUE, Berrien County Circuit Trial            APPEALS, MURPHY,
Court Judges, BERRIEN COUNTY TRIAL            BECKERING, HOEKSTRA,
COURT, for the State of Michigan, THE         SAWYER, BOONSTRA, AND
HONORABLE WILLIAMS B. MURPHY, CJ,              REDFORD’S MOTION TO
THE HONORABLE JANE M. BECKERING,               DISMISS FOR IMPROPER
THE HONORABLE JOEL P. HOEKSTRA,                       SERVICE
THE HONORABLE DAVID H. SAWYER,
THE HONORABLE MARK T. BOONSTRA,
THE HONORABLE JAMES ROBERT
REDFORD, Michigan Court of Appellate
Judges, MICHIGAN COURT OF APPEALS,
for the State Of Michigan,

      Defendants.


Owen W. Barnaby
Plaintiff in Pro Per
P. O. Box 1926
Kennesaw, GA 30156
(269) 335-4876


Kendell S. Asbenson (P81747)
Attorney for Defendants Michigan Court of
Appeals, Hon. William Murphy, Hon. Jane
Beckering, Hon. Joel Hoekstra, Hon. David
Sawyer, Hon. Mark Boonstra, and Hon. James
Redford
Michigan Department of Attorney General
Case 1:20-cv-00232-JTN-PJG ECF No. 16, PageID.243 Filed 04/21/20 Page 2 of 3




Civil Litigation, Employment & Elections
Division
P. O. Box 30736
Lansing, MI 48909
(517) 335-7659
(517) 335-7640 – Fax
asbensonk1@michigan.gov
                                               /

   BRIEF IN SUPPORT OF MICHIGAN COURT OF APPEALS, MURPHY,
   BECKERING, HOEKSTRA, SAWYER, BOONSTRA, AND REDFORD’S
           MOTION TO DISMISS FOR IMPROPER SERVICE

      Defendants Michigan Court of Appeals, and Judges William Murphy, Jane

Beckering, Joel Hoekstra, David Sawyer, Mark Boonstra, and James Redford, by

and through their attorney, Assistant Attorney General Kendell S. Asbenson, and

appearing for the limited purpose of asserting improper service in this matter, rely

on the law cited in their motion to support the dismissal of this action.

                                               Respectfully submitted,

                                               Dana Nessel
                                               Attorney General


                                               s/Kendell S. Asbenson
                                               Kendell S. Asbenson (P81747)
                                               Attorney for Defendants Michigan
                                               Court of Appeals, Hon. William
                                               Murphy, Hon. Jane Beckering, Hon.
                                               Joel Hoekstra, Hon. David Sawyer,
                                               Hon. Mark Boonstra, and Hon. James
                                               Redford
                                               Michigan Department of Attorney
                                               General
                                               P. O. Box 30736
                                               Lansing, MI 48909
                                               Asbensonk1@michigan.com
                                               (517) 335-7659
Dated: April 21, 2020                          P81747

                                           2
Case 1:20-cv-00232-JTN-PJG ECF No. 16, PageID.244 Filed 04/21/20 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that on April 21, 2020, I electronically filed the above

document(s) with the Clerk of the Court using the ECF System, which will provide

electronic copies to counsel of record and that I have mailed on April 22, 2020, by

United States Postal Service the paper to the following non-ECF participants:

      Owen W. Barnaby
      P. O. Box 1926
      Kennesaw, GA 30156

                                               s/Kendell S. Asbenson
                                               Kendell S. Asbenson (P81747)
                                               Attorney for Defendants Michigan
                                               Court of Appeals, Hon. William
                                               Murphy, Hon. Jane Beckering, Hon.
                                               Joel Hoekstra, Hon. David Sawyer,
                                               Hon. Mark Boonstra, and Hon. James
                                               Redford
                                               Michigan Department of Attorney
                                               General
                                               Civil Litigation, Employment &
                                               Elections Division
                                               P. O. Box 30736
                                               Lansing, MI 48909
                                               asbensonk1@michigan.com
                                               (517) 335-7659
                                               P81747




                                           3
